     Case: 1:05-cv-00236 Document #: 145 Filed: 09/26/07 Page 1 of 1 PageID #:2111
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 Roth                                                      JUDGMENT IN A CIVIL CASE
                      v.                                                Case Number: 05 C 236
 OfficeMax, Inc. Et al

 G          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 O          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that defendants’ motion to dismissed is
 granted. Civil case terminated.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 9/26/2007                                  ________________________________
                                                  /s/ Rhonda Johnson, Deputy Clerk
